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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,

        Plaintiffs,                                            Case No.: 1:18-cv-07299

v.                                                             Judge John Robert Blakey

THE PARTNERSHIPS AND UNINCORPORATED                            Magistrate Judge Jeffrey T. Gilbert
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs hereby file this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) on Schedule A, with leave to

reinstate within ninety (90) days if the agreed settlement payment is not received. After ninety

(90) days, the dismissal is with prejudice.

               NO.                                  DEFENDANT
               234                                   bestgoal4you
               461                                    Go Jerry's
               543                                      Loong
               836                                     Weihong
                99                             Pinze EC Co., Ltd. Store
               434                                 Ever lights LLC
                17                    Dongguan Daxin Rubber Electronic Co., Ltd.
               178                                 WEIRONG Store
               231                                    auchans-us
               487                                      Hotcity
               313                                   rose_store88
               325                                  sunsmile*8899
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        260                          fashion_accessory*2015
        262                              finding-wholesale
        795                                   Cinlla
        242                              cdcdnaisi2018-5
        571                                miracle shen
        491                         HuBei six minutes Co.,ltd
        446                                   feyman
        528                                 Lisawu77
        600                         Pandaoo Electionics co.ltd
        254                                   eastar4
        282                                   Ilooke
        228                                 Andyoume
        335                                 yoga5188
        308                                perfectyou05
        320                              shoppingnewfrog
        273                              happyeasybuy01
        172                                 top.seller_c
        832                                 Top Cloud
        349                              Achievement2017
        433                                Embracefull
        607                                 Phone_face
        264                                 Funshopzs
        312                               romantic-meet
        239                                buyoung2703
        276                              honeystore2011
        114                     Shanghai Sandi Industrial Co., Ltd.
        787                                  Amirago
        772                                zhenwenying
        667                                  tinymall
        757                                 yoyovigor

                                     2
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        616                                     quotein
        368                                     azulzou
        519                                    leoflake
        565                                   Minecarts
        665                           TinkSky Beauty Store
        656                                     taramee
        344                                    2cn2880
        781                                     zlamor
        625                                    service0
        702                                 wojiadedangpu
        699                                  Windy-night
        289                                  kydr940dhe3
        268                                  good-news98
        304                               passionate-lifeshine
        256                                 electronic-pilot
        307                               peoplestechnology
        179                Wenzhou Haowan International Trade Co., Ltd.
        306                                 pengshuai2011
        681                                    Vitastore
        469                                    guoyandi
        585                                      nbxcl
        748                                   yiren store
         21                   Dongguan Luxing Silicone Products Ltd.
         96                                  Ocean Toys
        265                                  futurebuy21
        136                 Shenzhen Hua Ze Union Electronic Co., Ltd.
        118              Shantou Chenghai Hanye Toys Industrial Co., Ltd.
        574                                   MonStore
        442                                    FDGRT
        628                     ShangHai H&Q Technology Co.,Ltd

                                      3
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              784                                       zxj_1
              327                                    tobenoone
              293                                     lusomuch
              267                                  galaxycentre13
              317                                  shallwe-dream
              263                                    fulllove365
              257                                   excellentideas



DATED: December 20, 2018                           Respectfully submitted,

                                                   /s/ Keith A. Vogt
                                                   Keith A. Vogt (Bar No. 6207971)
                                                   Keith Vogt, Ltd.
                                                   1033 South Blvd., Suite 200
                                                   Oak Park, Illinois 60302
                                                   Telephone: 708-203-4787
                                                   E-mail: keith@vogtip.com

                                                   ATTORNEY FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 20, 2018 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.
                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt, Esq.




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